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                        Exhibit 7
Case 6:20-cv-00831-RBD-GJK Document 113-7 Filed 10/01/20 Page 2 of 11 PageID 19293
                              Bruce Rosenzweig, M.D.

        1               IN THE UNITED STATES DISTRICT COURT

        2            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

        3                         CHARLESTON DIVISION

        4

        5    ------------------------------)

        6    IN RE:    COLOPLAST CORP.             )   Master File No.:

        7    PELVIC SUPPORT SYSTEMS                )   2:12-MD-02387

        8    PRODUCTS LIABILITY LITIGATION )

        9    ------------------------------)           MDL No. 2387

       10    THIS DOCUMENT RELATES TO:             )

       11                                          )

       12    ALL COLOPLAST WAVE 5, 6 AND 7 )

       13    CASES                                 )

       14    ------------------------------)

       15

       16                  The deposition of BRUCE ROSENZWEIG, M.D.,

       17    called for examination, taken pursuant to the Federal

       18    Rules of Civil Procedure of the United States District

       19    Courts pertaining to the taking of depositions, taken

       20    before JULIANA F. ZAJICEK, a Registered Professional

       21    Reporter and a Certified Shorthand Reporter, at Suite

       22    1650, 444 West Lake Street, Chicago, Illinois, on

       23    May 2, 2019, at 8:00 a.m.

       24

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                              Bruce Rosenzweig, M.D.

        1    PRESENT:

        2    ON BEHALF OF THE PLAINTIFFS:

        3           WAGSTAFF & CARTMELL, LLP

        4           4740 Grand Avenue

        5           Kansas City, Missouri 64112

        6           816-701-1100

        7           BY:    THOMAS P. CARTMELL, ESQ.

        8                  tcartmell@wcllp.com;

        9                  NATE JONES, ESQ.

       10                  njones@wcllp.com

       11

       12    ON BEHALF OF THE DEFENDANT COLOPLAST CORP.:

       13           KING & SPALDING LLP

       14           500 West 2nd Street, Suite 1800

       15           Austin, Texas 78701

       16           512-457-2060

       17           BY:    LANA K. VARNEY, ESQ.

       18                  lvarney@kslaw.com;

       19                  ASHLEY M. CROOKS, ESQ.

       20                  acrooks@kslaw.com

       21

       22

       23

       24    REPORTED BY:     JULIANA F. ZAJICEK, C.S.R. NO. 84-2604.

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        1    example, correct?

        2          A.      Oh, okay.    I thought we were talking about

        3    transvaginal.

        4          Q.      That wasn't in my question, but let me see

        5    if I can clarify.

        6          A.      Because the opinions that I have in my

        7    report are regarding transvaginally-placed mesh.

        8          Q.      I am so happy you clarified that.

        9                  You have no objection to the use of

       10    polypropylene mesh being used in a sacrocolpopexy done

       11    abdominally, correct?

       12          MR. CARTMELL:      Object to the form, calls for

       13    speculation with respect to what type of mesh you are

       14    talking about.

       15    BY THE WITNESS:

       16          A.      I have not offered opinions in this

       17    specific litigation regarding Coloplast

       18    abdominally-placed mesh.         I do not recommend the use

       19    of abdominally-placed mesh.         I do not fault doctors

       20    for using abdominally-placed mesh.

       21    BY MS. VARNEY:

       22          Q.      You do not think the Restorelle Y, which

       23    is indicated for abdominal sacrocolpopexy, is

       24    defective, correct?

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        1          MR. CARTMELL:      Same objection.

        2    BY THE WITNESS:

        3          A.      I have not offered an opinion about the

        4    Restorelle Y mesh.

        5    BY MS. VARNEY:

        6          Q.      And you don't --

        7          A.      I can give you the characteristics of it.

        8          Q.      -- you don't intend to offer an opinion

        9    that the Restorelle Y mesh is designed defectively,

       10    correct?

       11          A.      I have not offered opinions about the

       12    Restorelle Y mesh.

       13          Q.      And you do not intend to offer any

       14    opinions that the Restorelle Y mesh is defective in

       15    any way?

       16          A.      I am not offering opinions about the

       17    Restorelle Y mesh.

       18          Q.      And you do not intend to offer any

       19    opinions that the Restorelle Y polypropylene mesh

       20    degrades or disintegrates in any way when implanted,

       21    correct?

       22          MR. CARTMELL:      I'm going to object.        He has just

       23    told you he is not offering any opinions about

       24    Restorelle Y.

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                              Bruce Rosenzweig, M.D.

        1          MS. VARNEY:     He actually just told me --

        2          MR. CARTMELL:      So every question after that is

        3    absolutely, you know, not necessary.            And I can, as

        4    counsel who would be producing him as an expert today

        5    and putting him up at trial, he will not be offering

        6    any opinions about the Restorelle Y.            It is not in

        7    his -- his report.       He has never said he was doing

        8    that.    And I can confirm it's not going to happen.

        9    BY MS. VARNEY:

       10          Q.      So, Doctor, am I understanding correctly

       11    that you don't have any issue with the use of

       12    Restorelle Y, correct?

       13          MR. CARTMELL:      I'm going to object to the form.

       14          He has not --

       15          MS. VARNEY:     Got it.     Got your objection.

       16          MR. CARTMELL:      -- reviewed the materials on

       17    Restorelle Y.      He has not written a report that has

       18    opinions on that.       And he is not here to answer

       19    questions about Restorelle Y.

       20          MS. VARNEY:     Okay.    Thank you, counsel.

       21    BY MS. VARNEY:

       22          Q.      Can you go ahead and answer my question,

       23    please?

       24          A.      I am not offering opinions about the

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        1    Restorelle Y mesh.

        2          Q.      And you don't find it inappropriate for a

        3    surgeon to use the Restorelle Y mesh, correct?

        4          A.      I am not offering --

        5          MR. CARTMELL:      Object to the form.

        6    BY THE WITNESS:

        7          A.      -- opinions about the Restorelle Y mesh.

        8    BY MS. VARNEY:

        9          Q.      You don't fault any surgeon for using the

       10    Restorelle Y?

       11          MR. CARTMELL:      Same objection.

       12    BY THE WITNESS:

       13          A.      I am not offering opinions about the

       14    Restorelle Y mesh.

       15    BY MS. VARNEY:

       16          Q.      All right.     Would you --

       17          MR. CARTMELL:      When he reviews the materials, if

       18    he does, about Restorelle Y, he will answer those

       19    questions.     If he has opinions that it is a defective

       20    product, then we will disclose that and tell you.

       21          MS. VARNEY:     Thanks.     I move that the counsel's

       22    sidebar comments be struck from the record, it is not

       23    even in the form of an objection, I guess, but

       24    anyway --

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                              Bruce Rosenzweig, M.D.

        1          MR. CARTMELL:      No.   That wasn't an objection.

        2    That was to tell you what we are here about.              I

        3    thought you knew because you have his reports.

        4          MS. VARNEY:     I heard you the first time you said

        5    it, counsel.

        6          MR. CARTMELL:      Now you are asking him questions

        7    about things that are not in his report.

        8          MS. VARNEY:     I heard it the second time you said

        9    it as well, but moving on...

       10    BY MS. VARNEY:

       11          Q.      Dr. Rosenzweig, you know that surgeons

       12    continue to use Restorelle Y to perform abdominal

       13    sacrocolpopexies, correct?

       14          A.      It is still available, correct.

       15          Q.      And you have not put into writing anywhere

       16    that a surgeon should not use Restorelle Y to perform

       17    an abdominal sacrocolpopexy, correct?

       18          MR. CARTMELL:      Same objection.

       19    BY THE WITNESS:

       20          A.      I am not offering any opinions about the

       21    Restorelle Y mesh.

       22    BY MS. VARNEY:

       23          Q.      You know that the mesh that is used in the

       24    Restorelle Y is the same mesh that is used in the

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                              Bruce Rosenzweig, M.D.

        1    Restorelle Direct Fix, correct?

        2          A.      I am not offering any opinions about the

        3    Restorelle Y mesh.

        4          Q.      Not my question.

        5          MR. CARTMELL:      Let's take a -- let's take a

        6    break.     We're not going to -- he is not here about

        7    Restorelle Y.

        8          MS. VARNEY:     I'm not asking an opinion.          I'm

        9    asking to understand your knowledge.

       10          MR. CARTMELL:      Why are you asking about

       11    Restorelle Y at all?       Let's take a break.

       12          MS. VARNEY:     I am not agreeing to go off the

       13    record.     I have a pending --

       14          MR. CARTMELL:      We are taking a break.

       15          MS. VARNEY:     -- I have a pending question.           Can

       16    you please answer my question.

       17          MR. CARTMELL:      No.   I am going to tell you again

       18    for the fourth time, he has not reviewed materials on

       19    Restorelle Y.

       20          MS. VARNEY:     I am not asking for an opinion.

       21          MR. CARTMELL:      You are asking him --

       22          MS. VARNEY:     Would you read the question?

       23          MR. CARTMELL:      You are asking him -- we are

       24    taking a break.

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                              Bruce Rosenzweig, M.D.

        1           MS. VARNEY:     There is a pending question.

        2           MR. CARTMELL:     Let's step out.

        3           MS. VARNEY:     We are not taking a break until

        4    there is an answer.

        5           MR. CARTMELL:     We are taking a break.

        6    BY MS. VARNEY:

        7           Q.     Did you answer my question, Doctor?

        8           A.     I am not offering an opinion --

        9           MR. CARTMELL:     I am going to instruct you right

       10    now not to answer that question.           You can take it up

       11    with the Court.

       12           MS. VARNEY:     All right.     I will.

       13                       (WHEREUPON, a recess was had

       14                        from 3:37 to 3:53 p.m.)

       15           MS. VARNEY:     Would you read back my last

       16    question.

       17                       (WHEREUPON, the record was read by the

       18                        reporter as requested.)

       19    BY MS. VARNEY:

       20           Q.     Dr. Rosenzweig, you are aware that the

       21    Restorelle Y mesh is the same mesh that is used in the

       22    Restorelle Direct Fix, correct?

       23           MR. CARTMELL:     Objection to the form, asked and

       24    answered.     He is not here to offer opinions about the

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                              Bruce Rosenzweig, M.D.

        1    Restorelle Y.

        2           MS. VARNEY:     Thank you.     I appreciate that.

        3           MR. CARTMELL:     It is the fifth time we've told

        4    you.

        5    BY MS. VARNEY:

        6           Q.     You know it is the same mesh, right?

        7           A.     I have not reviewed any documents about

        8    the Restorelle Y mesh, nor have I prepared to give any

        9    testimony about the Restorelle Y mesh.

       10           Q.     All right.     Now, have you reviewed all of

       11    the documents that are on your supplemental reliance

       12    list?

       13           A.     Yes.

       14           Q.     Every single one of them, correct?

       15           A.     Yes.

       16           Q.     Did we mark it as an exhibit already?

       17           A.     I don't think so.

       18           MS. CROOKS:     You marked the old one.

       19    BY THE WITNESS:

       20           A.     I don't think so.

       21                       (WHEREUPON, a certain document was

       22                         marked Rosenzweig Deposition Exhibit

       23                         No. 14, for identification, as of

       24                         05/02/2019.)

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